Case 2:04-cv-02182-.]DB-dkv Document 18 Filed 07/18/05 Page 1 of 2 Page|D 27

Fn£n ev ___%c
IN THE UNlTED STATES DISTRICT COURT `
FOR THE WESTER_N DISTRICT OF TENNESSBB JU[_ ls PH 142 27

WESTERN DIVISION
Tl'lOW\S M. GOULD
cu=.RK. us estate comm
sHELBY COUNTY HEALTH CARE CORP W@. GF:_ ita “:“£?‘¢‘-PH‘$
d/b/a REGIONAL MEDICAL cENTER PLAINTIFF
vs. ClvlL ACTION NO. 2;04-€\/-02182
LARRY VANCE DEFENDANT

AGREED ORDER OF DISMISSAL
This Ceui“t has been advised that the paities have reached a settlement in this matter and

does hereby order that this cause is dismissed With prejudice, each y to pay their own costs

<P

  
  

ORDERED AND ADJUDGED this, the day of f , 2005.

 

TED STATES Dlt'»TR T COURT

APPROVED:

éa'v WWW

/Gary Mc `ullough
Attorne for P!aintiif
The Regional Medica] Center

U% //

Dana\],'SWan
Attorney for Larry Va":ce

hence
cmp
631 m 5 §
the doc“@}f¥.\ \ q “ 0
0 n
ent`e(@ P`OP 0
'Sd ""Jme“b\¢\e\lc>‘"9'v §
"“`\`\ 58 3-
\N`\\\'\ v

BECEW§;:) .;U_e_ 1 52005

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02182 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed

 

 

Teresa Ann McCullough
MCCULLOUGH & MCCULLOUGH
9050 Corporate Gardens Dr.
Germantown, TN 3 8138

Dana J. SWan

CHAPMAN, LEWIS & SWAN
P.O. Box 428

Clarksdale, MS 38614

Sheldon .1 ay Miller
WEISS MILLER WEISS
100 N. Main St.

Ste. 1201

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

